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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      Case No. 21-CR-00441-RDM
                                             :
JAMES VARNELL CUSICK JR,                     :
                                             :
                Defendant.                   :


                          MOTION TO DISMISS INFORMATION

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully moves this Court for leave, pursuant to Federal Rule of

Criminal Procedure 48(a), to dismiss the instant case against Defendant James Varnell Cusick, Jr

without prejudice.

       As detailed in a prior filing (see D.E. 14) and during the September 24, 2021 status

conference, this case is related to United States v. Casey Cusick, No. 21-CR-00440-CJN and

United States v. David John Lesperance, No. 21-CR-00439-EGS. All three defendants are charged

with the same four misdemeanor counts related to their conduct at the United States Capitol

Building on January 6, 2021. The defendants know each other, traveled from Florida to the District

of Columbia in advance of January 6, 2021, and entered and exited the Capitol Building at roughly

the same time, in roughly the same locations. Given the mutually admissible evidence and

overlapping primary criminal conduct alleged against these three defendants, the government

subsequently charged them with the same crimes alleged in the instant case, but in a single

superseding information. See United States v. Lesperance et al., No. 21-CR-575-EGS.
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       Accordingly, the government now moves to dismiss the instant case without prejudice.



                                                     Respectfully submitted,

                                                     CHANNING D. PHILLIPS
                                                     ACTING UNITED STATES ATTORNEY
                                                     D.C. Bar No. 415793


                                                     By: ___________________________
                                                     ANNE P. MCNAMARA
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 27, 2021, I caused a copy of the foregoing notice to be

served on counsel of record via electronic filing.




                                                     By: ___________________________
                                                        ANNE P. MCNAMARA
                                                        Assistant United States Attorney




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